                                                       U.S. Department of Justice

                                                       United States Attorney
                                                       Southern District of New York

                                                       United States Attorney’s Office
                                                       50 Main Street, Suite 1100
                                                       White Plains, New York 10606


                                                       February 10, 2025

BY ECF AND EMAIL
The Honorable Cathy Seibel
United States District Court
Southern District of New York
300 Quarropas Street
White Plains, New York 10601

               Re:     United States v. Frank Butselaar, S1 22 Cr. 560 (CS)

Dear Judge Seibel:

        The Government writes in response to the defendant’s February 4, 2025 letter seeking dis-
closure of an August 2020 application to toll the limitations period in this case under 18 U.S.C. §
3292 (the “August 2020 Application”). The defendant’s request is entirely unsupported by facts
or law and should be denied.

                                             Background

       A grand jury returned an Indictment against the defendant on October 20, 2022. The de-
fendant was first presented on the Indictment on October 2, 2023. The grand jury then returned a
superseding Indictment against the defendant containing the same charges as the October 20, 2022
Indictment on September 17, 2024. The defendant was then arraigned on the superseding Indict-
ment on September 24, 2024.

        It has been clear since the return of the initial Indictment in this case that certain counts
might be time barred absent some form of tolling. Indeed, on September 21, 2024, shortly after
the superseding Indictment was returned, the defense wrote to the Government asking for its po-
sition on what the defense saw as “a real Statute of Limitations problem.” On the same day, the
Government replied that a statute of limitations defense would be meritless because there were
several bases for the tolling of the statute of limitations including (1) tolling based on the filing of
an MLAT and (2) tolling during the time “the person committing any of the various offenses aris-
ing under the internal revenue laws is outside the United States.” See, 18 U.S.C. § 3292; 26 U.S.C.
§ 6531. 1 The defense thereafter elected not to raise a statute of limitations argument, nor did it
assert that there were insufficient disclosures.



1
 The email originally sent on September 21, 2024 is attached here is as Exhibit A. It was resent to the
defense prior to the filing of their motion.
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        Since then, the defendant went to trial, executed a plea agreement in which he waived any
right to challenge his conviction based on unproduced materials, see Plea Agreement at 5, and he
entered a guilty plea mid-trial.

        On January 29, 2025—more than two months after the change of plea hearing—the defense
made its first request for the August 2020 Application. In response, the Government asked the
defense to supply a basis for the request. The defense did not provide a substantive response for a
basis. That same day, the Government again reiterated its request for a basis for disclosure of the
August 2020 Application. The defense again demurred and, instead, invoked “Brady and discov-
ery obligations.” This unsupported request should now be denied.

                                                Discussion

        The defendant has provided no legally supportable explanation for why he is entitled to the
August 2020 Application. Indeed, the Second Circuit has held that a defendant does not have an
unfettered right to “see the ex parte papers filed by the Government” underlying a “§ 3292 order.”
United States v. Lyttle, 667 F.3d 220, 225 (2d Cir. 2012). That is particularly so given that the
defendant here made “no argument . . . [,] let alone presented any evidence[,] that the government
failed to the meet the standard for tolling.” Id. at 225–26.

        The defendant seems to implicitly argue that the basis for disclosure is that the August
2020 Application is somehow relevant to sentencing. See Def. Ltr. at 2 (“Mr. Butselaar has no
intention of changing course and is prepared to be sentenced” but asks to review the application to
“explore[] potential mitigating arguments”). But the defendant has not even attempted to explain
how an application to toll a limitations period could have any bearing on his sentencing. As de-
scribed above, the Government invited the defendant to provide a basis for his request, but the
defendant declined to do so.

         Instead, the defendant has repeatedly invoked Brady. Brady requires the disclosure of “fa-
vorable evidence to the accused where such evidence is ‘material’ either to guilt or to punishment.”
United States v. Coppa, 267 F.3d 132, 139 (2d Cir. 2001). Nothing about the August 2020 Appli-
cation bears on guilt or punishment. To get around that issue, the defendant advances an unsup-
ported interpretation of Brady: that any unproduced document may contain Brady (and so is sub-
ject to disclosure) until the defense has had the opportunity to review the document for itself. See
Def. Ltr. at 2 (asserting that defense counsel “must review” the application “to ensure that [they]
have fully explored potential mitigating arguments”). That interpretation ignores the well-estab-
lished law governing Brady disclosures. See, e.g., United States v. Maniktala, 934 F.2d 25, 28 (2d
Cir. 1991) (“Materiality means more than that the evidence in question bears some abstract logical
relationship to the issues in the case. There must be some indication that the pretrial disclosure of
the disputed evidence would have enabled the defendant significantly to alter the quantum of proof
in his favor.” (cleaned up)). 2




2
 Because the defendant has no right to production of this document, the Government is not required to
make any showing of harm or prejudice to resist disclosure. See, e.g., United States v. Collins, 409 F. Supp.
3d 228, 245 (S.D.N.Y. 2019).
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         The defendant’s only other reason for seeking the disclosure of the August 2020 Applica-
tion is an apparent suggestion that the tolling order might not apply to him because his name is not
expressly mentioned on its face. Def. Ltr. at 2 (“[T]he Tolling Order makes no reference to Mr.
Butselaar.”). But that argument is also meritless. The defendant was expressly named in the August
2020 Application, which this Court reviewed before granting the Government’s request for tolling,
and the order expressly names a business management firm, certain employees of that firm (with
whom the defendant later admitted to conspiring), and other “related entities and individuals”—
e.g., the defendant. And, in any event, § 3292 does not require that a defendant be expressly named
for purposes of tolling. “The plain language of the statute establishes that Section 3292 is offense-
specific—it repeatedly refers to ‘an offense’ or ‘the offense.’” United States v. Michel, No. CR
19-148-1 (CKK), 2019 WL 5797669, at *9 (D.D.C. Nov. 6, 2019) (quoting 18 U.S.C.
§ 3292(a)(1)). Section 3292 therefore “suspends the statute as to an offense—it does not suspend
the statute as to activities of an individual.” United States v. Afshari, No. CR 01-209CDOC, 2009
WL 1033798, at *2 (C.D. Cal. Apr. 14, 2009). Indeed, a contrary “‘interpretation would penalize
the Government for lack of omniscience as to who was involved in offenses under investigation.’”
United States v. Ratti, 365 F. Supp. 2d 649, 656 (D. Md. 2005) (quoting United States v. Neill, 952
F. Supp. 831, 834 (D.D.C. 1996)); see also United States v. Trainor, 277 F. Supp. 2d 1278, 1283
(S.D. Fla. 2003) (stating that “tolling under § 3292 is offense-specific, and not person-specific”),
aff’d, 376 F.3d 1325 (11th Cir. 2004). 3

        Finally, even setting all the above aside, the defendant, in his plea agreement, waived any
challenge to his conviction, including based on the non-production of materials. See Plea Agree-
ment at 5. And Second Circuit case law is clear that a defendant’s guilty plea is binding on him
even in cases where a limitations period has run. See United States v. Hsu, 669 F.3d 112, 117–18
(2d. Cir. 2012) (reasoning that even if “the limitations period had run on two of the counts, [the
defendant’s] plea of guilty waived the statute-of-limitations defense”).

      In short, the defendant is not entitled to this post-plea production. The defendant has
waived challenges to his conviction and, even if he had not, he has not offered any basis for why




3
  In an email to the Government on February 5, 2025, defense counsel further requested the Government to
produce “the Final Actions (as defined in Section 3292) that correspond to the [G]overnment’s official
requests referred to in paragraph 5 of the Court’s August 19, 2020 order.” But, as set out in Exhibit A, the
Government had already pointed the defense to produced materials that demonstrate that all counts in the
Indictment were timely under even the most conservative view of when “final action” could have been
taken under Section 3292.
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he would be entitled to disclosure of the August 2020 Application nor any explanation as to how
the August 2020 Application is relevant to his sentencing


                                           Respectfully submitted,

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                                           Southern District of New York

                                           by: /s/                                  .
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cc: Counsel of Record (by ECF and Email)
